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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                     CASE NO.: 17-17071-BKC-RAM
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

REINA J ORTIZ BARRIENTOS

_____________________________/
DEBTOR

         NOTICE CONTINUING DEBTOR'S MOTION TO MODIFY CONFIRMED PLAN

    YOU ARE HEREBY NOTIFIED that the DEBTOR Motion to Modify Confirmed Plan has been
continued to October 11, 2022 at 9:00 AM. The hearing will be conducted by video conference. For
instructions, please refer to the General Procedures for Hearings By Video Conference on the Court’s
website. To participate in the hearing, you must register for the video conference no later than 3:00 pm
one business day before the date of the hearing. To participate, click on the following link or manually
enter the following link in a browser:
https://www.zoomgov.com/meeting/register/vJItdOyvrjIvGmlCDrtlqCZrs_TzvTdyAJ0

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Continuing Debtor's
Motion to Modify Confirmed Plan was mailed to those parties listed on this 14th day of September,
2022.



                                                         _____________________________________
                                                          /s/ Nancy K. Neidich
                                                          NANCY K. NEIDICH, ESQUIRE
                                                          STANDING CHAPTER 13 TRUSTEE
                                                          P.O. BOX 279806
                                                          MIRAMAR, FL 33027-9806
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                                   NOTICE CONTINUING DEBTOR'S MOTION TO MODIFY CONFIRMED PLAN
                                                                      CASE NO.: 17-17071-BKC-RAM

                                    SERVICE LIST

COPIES FURNISHED TO:

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STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
REINA J ORTIZ BARRIENTOS
591 W 33RD STREET
HIALEAH, FL 33012-5105

ATTORNEY FOR DEBTOR
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013

JOSE BLANCO, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
